        Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 1 of 6 PageID# 2728
AO 245B(Rev,09/n)(VAED rev. 2)Sheet I - Judgment in a Criminal Ctisc



                                         UNITED STATES DISTRICT COURT
                                                   Eastern District of Virginia
                                                           Alexandria Division

UNITED STATES OF AMERICA
                                   V.                                   Case Number: 1:19-cr-00059-LO

DALEEVERETTE HALE                                                       USMNumber:26069.075
                                                                        Defendant's Attorney: Todd M. Richman, Esquire
                                                                                              Cadence Mertz, Esquire
Defendant.


                                          JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilt>'' to Count 2 of the Superseding Indictment,
   Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

Title and Section                    Nature of Offense                          Offense Class       Offense Ended    Count

18 U.S.C.§ 1793(e)                   Retention and Trnnsmlssion of              Felony              12/17/2015
                                     National Defense Information

   On motion ofthe Defendant without objection by the Government, the Court has dismissed the remaining counts in the
indictment(Count 1, 3,4, and 5)as to defendant DALE EVERETTE HALE.

   As pronounced on July 27,2021, the defendant is sentenced as provided in pages 2 through 6 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 27th day of July, 2021.




                                                                       Liam O'Ors
                                                                       United States^strict Judge
Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 2 of 6 PageID# 2729
Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 3 of 6 PageID# 2730
Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 4 of 6 PageID# 2731
Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 5 of 6 PageID# 2732
Case 1:19-cr-00059-LO Document 249 Filed 07/27/21 Page 6 of 6 PageID# 2733
